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                              IN THE UNITED STATES DISTRICT COURT
 8                        EASTERN DISTRICT OF CALIFORNIA, FRESNO
 9                                                 *****
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                                                     )   Case No.: CR-F-04-5356 AWI
11 UNITED STATES OF AMERICA,                         )
                                                     )   STIPULATION AND ORDER ALLOWING
12               Plaintiff,                          )   DEFENDANT SURINDER SINGH NIJJAR
                                                     )   TO LEAVE COUNTRY
13      vs.                                          )
                                                     )
14 SURINDER SINGH NIJJAR,                            )
                                                     )
15               Defendant.                          )

16
17            The parties have filed the following stipulation:
18
19            IT IS HEREBY STIPULATED between Defendant, SURINDER SINGH NIJJAR,
20   by and through his attorney, Anthony P. Capozzi, and Plaintiff, by and through Assistant
21   United States Attorney Mark Cullers, that Defendant SURINDER SINGH NIJJAR’s passport
22   be returned and he be given permission to temporarily leave the Eastern District of California
23   and the United States from Thursday, March 20, 2008 to Monday, March 24, 2008, to travel

24   to Surrey, British Columbia, Canada to attend a family wedding. The wedding is that of Mr.

25   Singh’s cousin, Kulwinder Singh. Mr. Singh will be staying at the home of his cousin,

26   Ranvranber Singh who resides in Surrey.

27                   IT IS FURTHER STIPULATED THAT MR. NIJJAR have his passport given
     back to him by the Clerk of the Court and that Mr. NIJJAR will return his passport to the
28
     court upon his return to the United States.
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                 IT IS SO STIPULATED.
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     DATED: March 19, 2008
 4
 5                                             /s/ Mark Cullers_______________
                                                      MARK CULLERS
 6
                                               Attorney for Plaintiff
 7
 8   DATED: March 19, 2008
 9
                                               /s/ Anthony P. Capozzi
10                                                          ANTHONY P. CAPOZZI
11                                             Attorney for Defendant,
                                               SURINDER SINGH NIJJAR
12
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16                                      ORDER

17
18   IT IS SO ORDERED.

19   Dated:   March 20, 2008                  /s/ Anthony W. Ishii
     0m8i78                             UNITED STATES DISTRICT JUDGE
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